 
  

Case 2:18-cr-00012-JCZ-MBN Document 49 Filed 03/30/20

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIAVA

  
 
 

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EASTERN DISTRICT OF LOUISIANA

FILED MAR 30 2020
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BRANDOW TURNER
WRIT OF HABEAS CORPUS FOR SENTENCE COMPUTATION ERROR

Comes now Brandon Turner before this honorable justice court, who brings this

WRIT OF HABEAS CORPUS FOR SENTENCE COMPUTATION ERROR construed with U.S. Constitu~

tion Art. 1 Sec. 9 and shall show the following to wit:

Turner who bas recieved a term of "time served' for sentence docketed as
2:10-cr-00197 which was to run concurrent witb case No. 2:18-cr-00012 is with bis
4th Amendment rights violated construed with bis papers and bis person. Such due
process error bas been made in accordance with a policy that is in conflict witb
the "Order'’ of the court by the B.0.P.. Such order was given by Judge Nennette Br-
own on March 27, 2019 and Judge Jay C. Zainey on April 16, 2019 that such was to
be ran concurrently and given credit from the date of bis arrest on August 2, 2017
which is to be carried out as the order the court bas prescribed (see Attached).
For such to be construed to apply any otber way than the court specified is a 5th
Amendment violation which the B.O.P. is not privileged to evade. The article 6 oa-~
th of fidelity extends to all branches of government and it's agents or employees.

"Since the constitution is intended for the observance of the judiciary as

vell as otber departments of government and the judges are sworn to support it's
provisions, ‘the courts are not at liberty to overlook or distegerd it's commands
or counteract evasions thereof, it is tbeir duty in authorized proceedings to give
full effect to the existing constitution and to obey all constitutional provisions
irrespective of their opinion as to the wisdom or the desirability of such provis~
jons and irrespective of the consequences, thus it is said that the courts should
be in our alert to enforce the provisions of the United States Constitution and
guard against their infringement by legislative fiat or otberwise in accordance
with tbese basic principles, the rule is fixed that the duty in the proper case to
declare 9 law unconstitutional cannot be declined and must be performed in accord-
ance with the delivered judgment of tbe tribunal before which the validity of the
enactment it is directly drawn into rule, it is the duty of tbe courts to declore
that the constitution and not the statute governs in cases MYO RAanF OR Aude -
nt." 16Am Jur 2d., Sec. 155., Emphasis Added

_Process___ Page 1 MAR 30 2020

_X_ Dktd_______ U.S. DISTRICT COURT
__— CtRmDep ——__ Eastern District of Louisiana
——— Doc. No, Deputy Clerk
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However, upon Turner contacting the court a order was given to tbe B.O.P. by

Chief Judge Nannette Jolivette Brown to carry out the order as prescribed by the
court. The B.0.P. bas remained consistent that such shall remain the same as if
they are sovereign and are not obligated to adbere to the prescription of the cou-
rt. The U.S. Constitution bas not delegated such power to the B.O.P. to disregard
the due process of the court and the security of papers of the people thereby the
B.O.P. is in violation of the 10th Amendment at thie time due to such. The 14th A-
mendment ig to be construed to apply as vell in that a rule bas been made that a-
bridges the privileges and jmmunities of Turner in thie instance. A policy cannot
over-ride the constitution, neither can a statute, rule, etc....

"Where rights secured by the constitution are involved, there can be no rule
making or legislation. which vould abrogate them." Miranda v. Arizona, 384 U.S. 436

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“All codes, rules, and regulations ere for government authorities only, not
buman creators in accordance with God's lewe. All codes, rules, and regulations
are unconstitutional and lacking due process..." Rodriguez v. Ray Donevan (Depart~
ment of labor) F.2d 1344, 1348 71985)

“The common lew is the real lev, the supreme law of the lend, the code rules,
regulations, policy and statutes are “not the law." Self v. Rbay, 61 Wn (2d) 261

However such is still just a minor computation error due to the court already
rendering a order in the regerd to time served and that all the time that is to be
credited by way of concurrent sentences. In such regard Fed. R. Crim. Pro, R. 36 ©
js able to be applied to fix such an error which could be mindless in nature.

“Rule 36 provides that the district Court may at eny time correct a clerical
error in a judgment, order, or other part of the record, or correct an error in
the record arising from “oversight" or “omission.” Rule 36 is a limited tool and
js meant only to correct mindless and mechanistic mistakes." United States v. Mac~
kay, 757 F.3d 195, 200 (5th cir. 2014)

It is at this time requested that the 15 months presentence credit from the

dates of bis arrest of August 2, 2017 through October 30, 2018 that is to be cred-

jted to Turner be implemented.

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PRAYER
Turner bereby prays that this justice Court grant this writ and correct the

sentence computation error made by the B.O.P. construed with Rule 36 of the Fed.
R. Crim. Pro. or in the alternative extradite Turner for the purpose of amending
the judgment from “Time Served" to 15 months or from 80 months to 65 months if su-
ch is necessary for the interest of justice to make such time credited be applied
as the courts consistently end firmly agree.

Date: 3/76 /20 Respectfully
R=

Pro Se: Brandon Turner

 

AFFIDAVIT
I Brandon Turner,. being over 18 years of age do swear that all facts and sta~

temente are true and correct not meaning to mislead any under the penalty of perj-

ury.

dete: 3/26 /20 2 eK

Brendon Turner

 

CERTIFICATE OF SERVICE .
I bereby certify that I bave sent 9 copy of this writ to the clerk of court

at 500 Poydras St., New Orleans, LA 70130

 

pete:_F/2b/2 0 /o-— Co
| Brandon Turner :

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FILED
UNITED STATES DISTRICT COURT —__ U.S. DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA =f “STFRN DISTRICT OF LA.

2019 AUG 2b PU: 2y

UNITED STATES OF AMERICA CRIMINALY 1 eyiNs

VERSUS NO.10-19T |

BRANDON TURNER SECTION "G"
ORDER

The attached letter dated July 29, 2019 was received in chambers from Defendant Brandon
Turner.' The Court, however, will not act upon an ex parte request made by “letter.”* This Court
previously instructed Mr. ‘Turner to stop sending correspondence directly to chambers.> However,
in the interest of justice, the Court, finding that Mr. Turner was previously represented by the
Federal Public Defender’s Office, will appoint counsel to investigate the issues raised in Mr.
Turner’s letter and file any appropriate motions. Accordingly,

IT IS HEREBY ORDERED that the Office of the Federal Public Defender is appointed
to investigate the issues raised in Brandon Turner's letter dated July 29, 2019 and attached to this
Order, and file any appropriate motions on his behalf on or before October 15, 2019.

IT IS FURTHER ORDERED that Mr. Turner stop sending correspondence to chambers.

__ NEW ORLEANS, LOUISIANA, this _26tM day of August, 2019.
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Raa a NANNETTE JOLAVETTE BROWN
A (ite: CHIEF JUDGE

     
     

 

 

 

 

UNITED STATES DISTRICT COURT

 

 

 

 

' See attached correspondence.

* Rule 47 of the Federal Rules of Criminal Procedure provides that “[a] party applying to the court for an order must
do so by motion.” “These procedures are not ceremonial: they serve to apprise the court of important business that
needs attending.” United States v. Smart, 488 F. App’x 790, n. 2 (5th Cir. 2012). The Fifth Circuit has noted that
where a defendant “docketed a fetter with the court,” rather than filing the appropriate motion, “he can hardly compfain
that it was not addressed or noted.” fe.
* Rec. Doc. 474, Order dated April 25, 2019. _.. Fee
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA CRIMINAL ACTION

VERSUS 18-12

BRANDON TURNER SEC. "A" MAG. 5
ORDER

Upon request of the defendant, the Court hereby issues a clarification of sentence.

Accordingly,

IT IS ORDERED that the Defendant Brandon Turner be given credit for time
served from the date of his arrest on August 3, 2017.

ITIS FURTHER ORDERED that the sentence in the above captioned matter run
CONCURRENT to his sentence in case number 2:10-cr-197-G

New Orleans, Louisiana, Tuesday, April 16

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United States District Court

 

 

    

 

    

 

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

UNITED STATES CRIMINAL ACTION

VERSUS NO. 10-197

BRANDON E. TURNER . SECTION: “G”
ORDER

On October 18, 2018, this Court revoked a term of supervised release previously imposed
on Defendant Brandon E. Turner (“Turner”) and sentenced him to the custody of the Federal
Bureau of Prisons (“BOP”) for a term of time served as to Count One of the Superseding Bill of
Information, to run concurrent with any sentence imposed under Case No. CR 18-12 “A.”' On
March 20, 2019, Turner contacted the Court by letter, asserting that the BOP has not calculated
Turner’s sentence in accordance with the October 18, 2018 Judgment.” The Fifth Circuit has
recognized that “t]he BOP—as opposed to the federal courts—is the entity authorized to determine
where a federal sentence will be served, when it begins, and, in certain respects, how long it will
last.”3 However, the district court determines the length of the sentence imposed.‘ Accordingly,
the Court hereby orders the BOP to ensure that its computation of Turner’s sentence complies with

the October 18, 2018 Judgment imposed in this case.>

 

"Rec. Doc. 465.
2 See attached correspondence. |

3 United States v. Cibrian, 374 F. App’x $24, 530 (Sth Cir. 2010) (citing 18 U.S.C. § 3621; see United States
v. Wilson, 503 U.S. 329, 337 (1992) (Attorney General, through the BOP, computes the amount of § 3585(b) credit
after the defendant has begun to serve his sentence); United States v. Dowling, 962 F.2d 390, 393 (Sth Cir.1992)
(“credit awards are to be made by the Attorney General, through the Bureau of Prisons, after sentencing”)).

4 See 18 U.S.C. § 3582.
5 Rec. Doc. 465.

 
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Based on the foregoing,

IT IS HEREBY ORDERED that the Clerk of Court shall serve a copy of this Order and
the October 18, 2018 Judgment on the Bureau of Prisons. The Bureau of Prisons shall ensure that
its computation of Turner’s sentence complies with the Judgment imposed in this case.

IT IS FURTHER ORDERED that the United States Attorney’s Office facilitate
compliance with this Order.

NEW ORLEANS, LOUISIANA, this 27th day of March, 2019.

NANNETTE JOLWETTE BROWN
CHIEF JUDGE
UNITED STATES DISTRICT COURT

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(a) No credit shall be given based solely on
documents or information received from a prisoner, a defense
attorney, or other person or organization acting on the behalf of
the inmate. Information from such sources shall be thoroughly
investigated and verified before credit may be given. The
verification effort will consist of one communication (with

written documentation that contact was made, either in the form

of a copy of the letter, fax, or teletype message, or by
documenting the phone call) and one following communication if no
response is received. If the follow-up communication produces

no
response, the matter should be referred to the appropriate
Regional Inmate Systems Administrator.

(b) Should the Judgment and Commitment order
make a recommendation that a period of time credit be awarded to
the sentence that is not authorized, the recommendation may be

treated as surplusage and the credit will not be allowed. No
letter need be written to the court that the time was not
awarded. If the court, however; orders ‘that a period of time be

awarded that is not authorized, a letter must be sent to the
appropriate U.S. Attorney requesting assistance in resolving the
problem (Follow the instructions in the Inmate Systems Manual for

communicating with the U.S. Attorney and the Reno v. Koray
instructions beginning on page 1 - 14F, if applicable).
Pending resolution of the problem, the sentence shall be computed
as

reflected on the Judgment and Commitment. =

(3) QUESTIONABLE SITUATIONS. Questions or problems
that arise as to the applicability of any of the provisions of
this policy shall be referred to the Regional Inmate Systems
Administrator. Any resolution of a question or problem that
may require a decision outside of, or contrary to, this policy or
that may require a precedent setting decision, shall be referred
to the Chief of Inmate Systems in the Central Office for review.

 

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